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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11     MARIO AGUILAR, JR.,                    Case No. 2:19-cv-09536-SB (GJS)
12                  Petitioner
13            v.                               JUDGMENT
14     M.E. SPEARMAN,
15                  Respondent.
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17
18          Pursuant to the Court’s Order Accepting Findings and Recommendations of
19    United States Magistrate Judge,
20
21          IT IS ADJUDGED THAT this action is dismissed with prejudice.
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23
      DATE: April 29, 2021
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25                                       STANLEY BLUMENFELD, JR.
                                         UNITED STATES DISTRICT JUDGE
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